

People v Cortes (2020 NY Slip Op 00360)





People v Cortes


2020 NY Slip Op 00360


Decided on January 16, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on January 16, 2020

Friedman, J.P., Richter, Kern, Singh, JJ.


10799 220/17

[*1] The People of the State of New York, Respondent,
vJohn Cortes, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Dalourny Nemorin of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Claire Nielsen of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Kevin McGrath, J.), rendered March 23, 2017 ,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
ENTERED: JANUARY 16, 2020
CLERK
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate
Division, First Department.








